Case 0:24-cv-60891-AHS Document 40 Entered on FLSD Docket 08/16/2024 Page 1 of 27




                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

   INTER-COASTAL WATERWAYS LLC,
                                             CIVIL ACTION NO. 0:24-cv-60891-AHS
                        Plaintiff,
               v.

   TRADESTATION SECURITIES, INC. and
   DOE DEFENDANTS 1-10,

                        Defendants,
              and

   THE FINANCIAL INDUSTRY
   REGULATORY AUTHORITY,

                        Nominal Defendant.


    PLAINTIFF INTER-COASTAL WATERWAYS LLC’S MEMORANDUM OF LAW
      IN OPPOSITION TO DEFENDANT TRADESTATION SECURITIES, INC.’S
    MOTION TO COMPEL ARBITRATION AND CROSS-MOTION TO DISQUALIFY
     THE FINANCIAL INDUSTRY REGULATORY AUTHORITY AS MANDATORY
        ALTERNATIVE DISPUTE RESOLUTION SERVICE TO THIS ACTION

                                      THE BASILE LAW FIRM P.C.

                                      Agapija Cruz, Esq.
                                      365 Fifth Avenue S.
                                      Suite 202
                                      Naples, Florida 33472
                                      Tel.: (239) 232-8400
                                      Fax: (631) 498-0478
                                      Email: agapija@thebasilelawfirm.com

                                      Joseph F. Rose, Esq. (admitted Pro Hac Vice)
                                      390 N. Broadway, Ste. 140
                                      Jericho, New York 11753
                                      Tel.: (516) 455-1500
                                      Fax: (631) 498-0478
                                      Email: joe@thebasilelawfirm.com

                                      Counsel for Plaintiff Inter-Coastal Waterways LLC
Case 0:24-cv-60891-AHS Document 40 Entered on FLSD Docket 08/16/2024 Page 2 of 27




                                                     TABLE OF CONTENTS

                                                                                                                                           Page

  TABLE OF AUTHORITIES ......................................................................................................... iii

  PRELIMINARY STATEMENT .....................................................................................................1

  FACTUAL BACKGROUND ..........................................................................................................2

  A.        FINRA Improperly Permitted the Listing and Trading of the MMTLP Shares ..................2
  B.        FINRA’s Improper, Unilateral and Forced-Fed Revision of Meta Materials’
            December 8, 2022 Notice of Corporate Action and the Subsequent U3 Halt .....................3
  C.        FINRA Was Aware of Fraudulent Market Activity Occurring Amongst Its Member
            Brokers, Yet FINRA Failed to Initiate Any Disciplinary Action Against Member
            Brokers, or Provide Adequate Responses to Congressional Inquiry ...................................6
  D.        The Intimate Connection Between TradeStation and FINRA (Conflict of Interest) ...........7
  E.        FINRA Will Assert Immunity to any Discovery Requests in An Arbitration
            Proceeding............................................................................................................................9
  ARGUMENT .................................................................................................................................10

   I.       THE COURT SHOULD FIND THAT FINRA CANNOT ACT AS AN
            IMPARTIAL  ALTERNATIVE    DISPUTE RESOLUTION                      SERVICE
            PURSUANT TO THE ARBITRATION PROVISION .....................................................10
                  A. FINRA’s Regulatory Action of Implementing the December 9, 2022 U3
                     Halt was the Primary Catalyst for Plaintiff’s Claims Against TradeStation .........11

                  B. Despite a Strong Public Policy Favoring the Enforcement of Arbitration
                     Agreements, an Arbitration Agreement Involving an “Evidently Partial”
                     Arbitration Service Should Not Be Enforced ........................................................13
                  C. FINRA Would Not Be Conflicted From Administering Arbitration Services
                     For “Virtually Every” Other Dispute Arising Out Of Its Member Brokers’
                     Business Activities .................................................................................................14
                  D. Each Individual Arbitrator Contracted by FINRA Holds An Innate, Implied
                     Bias Favoring FINRA ............................................................................................15
                  E. The Limited Discovery Permitted by FINRA’s Code of Arbitration Will
                     Heavily Prejudice Plaintiff in this Matter ..............................................................17




                                                                         i
Case 0:24-cv-60891-AHS Document 40 Entered on FLSD Docket 08/16/2024 Page 3 of 27




  II.       PLAINTIFF’S CLAIMS ARISE FROM TRADESTATION’S MISCONDUCT
            WHICH WAS NOT CONTEMPLATED BY THE PARTIES AT THE TIME THE
            CONTRACT WAS EXECUTED. THUS, PLAINTIFF’S CLAIMS ARE NOT
            ARBITRABLE UNDER THE TERMS OF THE ARBITRATION
            AGREEMENTS .................................................................................................................18
  CONCLUSION ..............................................................................................................................20




                                                                      ii
Case 0:24-cv-60891-AHS Document 40 Entered on FLSD Docket 08/16/2024 Page 4 of 27




                                                 TABLE OF AUTHORITIES

                                                                                                                                 Page(s)
  Cases:

  Armada Coal Export, Inc. v. Interbulk, Ltd.,
    726 F.2d 1566 (11th Cir. 1984) ................................................................................................19

  Bolamos v. Globe Airport Sec. Servs.,
     2002 U.S. Dist. LEXIS 11056 (S.D. Fla. May 21, 2002) .........................................................13

  Citigroup Global Mkts., Inc. v. Berghorst,
     2012 U.S. Dist. LEXIS 76459 (S.D. Fla. Jan. 20, 2012) ..........................................................15

  Commonwealth Coatings Corp. v. Continental Casualty Co.,
    393 U.S. 145 (1968) ............................................................................................................14, 15

  David Khorassani v. The Financial Industry Regulatory Authority,
    Index No. 153819/2023 (Sup. Ct. N.Y. Cty) ..............................................................................9

  Gilmer v. Interstate/Johnson Lane Corp.,
     500 U.S. 20, 26 (1991) ..............................................................................................................11

  Hemispherx Biopharma v. Johannesburg Consol. Invs.,
    553 F.3d 1351 (11th Cir. 2008) ................................................................................................18

  Hensley v. TD Ameritrade, Inc.,
    Case No. 2-23-cv-5159 (W.D. Wa. Oct. 2, 2023) ......................................................................9

  Hoffman v. Fidelity Brokerage Services LLC,
    2023 U.S. Dist. LEXIS 81166 (C.D. Cal. May 8, 2023) ............................................................9

  In re Murchison,
     349 U.S. 133, 136 (1955) ..........................................................................................................10

  Mitsubishi Motors Corp. v. Soler Chrysler-Plymouth,
     473 U.S. 614 (1985) ............................................................................................................10, 11

  Old Dutch Farms, Inc. v. Milk Drivers & Dairy Employees Local Union No. 584,
     359 F.2d 598 (2d Cir. 1966)......................................................................................................18



                                                                     iii
Case 0:24-cv-60891-AHS Document 40 Entered on FLSD Docket 08/16/2024 Page 5 of 27




  Park v. E-Trade Financial Corporate Services, Inc.,
    Case No. 2:23-cv-0069 (N.D. Ga. Sept. 25, 2023) .....................................................................9

  Prima Paint Corp. v. Flood & Conklin Mfg.,
     388 U.S. 395 (1967) ..................................................................................................................11

  Scherk v. Alberto-Culver Co.,
     417 U.S. 506 (1974) ..................................................................................................................11

  Seifert v. United States Home Corp.,
     750 So. 2d 633 (Fla. 1999)........................................................................................................18

  Shearson/Am. Express v. McMahon,
     482 U.S. 220 (1987) ..................................................................................................................11

  Tawil v. Financial Industry Regulatory Authority, Inc.,
    2023 U.S. Dist. LEXIS 117247 (N.D. Fla. May 24, 2023).........................................................9

  The Bremen v. Zapata Off-Share Co.,
    407 U.S. 1 (1972) ......................................................................................................................11

  Torres v. First Transit, Inc.,
    2021 U.S. Dist. LEXIS 144608 (S.D. Fla. Aug. 3, 2021) .........................................................15

  Tumey v. Ohio,
    273 U.S. 510 (1927) ..................................................................................................................10

  United States v. Perkins,
    748 F.2d 1519 (11th Cir. 1984) ................................................................................................15

  United States v. Rhodes,
    177 F.3d 963 (11th Cir. 1999) ..................................................................................................15

  Withrow v. Larkin,
     421 U.S. 35 (1975) ....................................................................................................................10

  Statutes, Rules & Other Authorities:

  9 U.S.C. § 10 ..................................................................................................................................13

  17 C.F.R. § 240.15c3-3 ....................................................................................................................9


                                                                         iv
Case 0:24-cv-60891-AHS Document 40 Entered on FLSD Docket 08/16/2024 Page 6 of 27




  17 C.F.R. § 240.15c3-3(b)(1).........................................................................................................13

  Fed. R. Civ. P. 30 ...........................................................................................................................17

  Fed. R. Civ. P. 33 ..........................................................................................................................17

  Fed. R. Civ. P. 36 ...........................................................................................................................17

  FINRA Rule 6490(d)(3) ...................................................................................................................5

  FINRA Rule 12400 ........................................................................................................................16

  FINRA Rule 12405 ........................................................................................................................15

  FINRA Rule 12405(a)(1) ...............................................................................................................16

  FINRA Rule 12507 ........................................................................................................................17

  FINRA Rule 12510 ........................................................................................................................17

  Fla. Stat. § 772.103 ........................................................................................................................19

  Fla. Stat § 895.03 ...........................................................................................................................19

  Freedom of Information Act, 5 U.S.C. § 552 ..................................................................................6




                                                                         v
Case 0:24-cv-60891-AHS Document 40 Entered on FLSD Docket 08/16/2024 Page 7 of 27




           Plaintiff Inter-Coastal Waterways LLC (“Plaintiff” or “Inter-Coastal”), by and through its

  undersigned counsel, respectfully submits this memorandum of law in opposition to

  Defendant TradeStation Securities, Inc.’s (“Defendant” or “TradeStation”) motion to compel

  arbitration and to stay this action, ECF 29 (“Motion”), and in support of its cross-motion to

  disqualify The Financial Industry Regulatory Authority (“FINRA”) as the mandatory alternative

  dispute resolution service to the dispute between Inter-Coastal and TradeStation.

                                        PRELIMINARY STATEMENT

           This is a case of first impression where the partiality of an arbitration service and its

  individual paid arbitrators is challenged due to FINRA, the dispute resolution service’s manager,

  taking actions that exceed its regulatory authority, and those same acts being at the center of the

  dispute between Plaintiff and TradeStation arises. Plaintiff opposes TradeStation’s request to

  compel arbitration, and in further support of its request to disqualify FINRA as the third-party

  dispute resolution service mandated by the Agreements, because FINRA’s Dispute Resolution

  Services is operated by and under the influence of the entity whose regulatory actions caused this

  very dispute. Plaintiff’s position is, therefore, rooted in the widely-held, irrefutable legal principle

  that it must be afforded a Constitutionally unbiased avenue through which it may be afforded the

  opportunity to have an impartial resolution of its claims against TradeStation. On May 24, 2024,

  Plaintiff filed its Complaint, naming TradeStation as the Defendant and FINRA as Nominal

  Defendant.1 See ECF 1 (“Complaint”) at 1. In its Complaint, Plaintiff notes that the Customer

  Account Agreement contains a provision requiring the parties’ agreement to arbitrate before




  1
    Plaintiff does not allege any cause of action against FINRA, nor does it seek recourse for any liability against FINRA
  in its Complaint. Plaintiff names FINRA as a Nominal Defendant because: (i) FINRA was named as the mandatory
  alternative dispute resolution service to the dispute between Plaintiff and TradeStation in the Agreements; and
  (ii) FINRA’s questionable regulatory activities are the nexus from which the dispute between Plaintiff and
  TradeStation arose. See ECF 33.


                                                             1
Case 0:24-cv-60891-AHS Document 40 Entered on FLSD Docket 08/16/2024 Page 8 of 27




  FINRA “any and all controversies, claims or disputes relating to your Account, the Services and/or

  the determination of any contractual rights and liabilities under this Agreement.” Id. at ¶ 69; see

  also ECF 1-9 at 15. Plaintiff asserts that optically and practically, both FINRA, as the third party

  mandated by the Agreements to be the alternative dispute resolution service of any dispute between

  Plaintiff and TradeStation, as well as any potential “neutral” arbitrator employed and compensated

  by FINRA, would be demonstrably biased as an alternative dispute resolution service. The nexus

  from which the dispute between Plaintiff and TradeStation is unique when compared to the vast

  majority of disputes FINRA’s Dispute Resolution Service (“DRS”) mediates and resolves

  annually. For the reasons set forth herein, Plaintiff respectfully requests that the Court deny

  TradeStation’s motion to compel arbitration and grant its cross-motion to disqualify FINRA.

                                    FACTUAL BACKGROUND
  A.     FINRA Improperly Permitted the Listing and Trading of the MMTLP Shares
         On or about June 28, 2021, Meta Materials merged with Torchlight Energy Resources,

  Inc., a company publicly traded on the Nasdaq Stock Market under the ticker symbol TRCH.

  Complaint ¶ 11; Declaration of George Palikaras (“Palikaras Decl.”) ¶ 3. After the merger, Meta

  Materials subsequently began trading on the Nasdaq Stock Market under the ticker symbol

  MMAT. Complaint ¶ 12; Palikaras Decl. ¶ 4. As a part of the merger transaction, Meta Materials

  issued a special dividend in the form of Series A Preferred Dividend Shares (“Series A Shares” or

  “MMTLP Shares”) to Torchlight Energy shareholders that held shares prior to the merger.

  Complaint ¶ 13; Palikaras Decl. ¶ 5. The Series A shares were never intended or authorized to be

  listed or traded on any exchange, and were created merely to be a dividend placeholder

  representing the assets of Torchlight Energy that Meta Materials would continue to own as a part

  of the merger. Palikaras Decl. ¶ 7.




                                                   2
Case 0:24-cv-60891-AHS Document 40 Entered on FLSD Docket 08/16/2024 Page 9 of 27




          On or about October 6, 2021, FINRA sent an email to Meta Materials with a letter notifying

  the Company that FINRA assigned the ticker symbol MMTLP to the Series A Shares and the

  MMTLP Shares may be quoted and traded on the Over-The-Counter Market (“OTC Market”).

  Palikaras Decl. ¶ 14. FINRA’s October 6, 2021 letter to Meta Materials indicated that the MMTLP

  Shares were quoted and began trading via an “exemption” and the Company’s financial

  information provided to FINRA by the unidentified broker(s) seeking the listing exemption was

  incorrect and outdated, containing publicly available Company information from 2012. ECF 33

  at 2; Palikaras Decl. ¶ 15. On October 7, 2021, Meta Materials’ management responded to

  FINRA’s letter via email, objecting to the assignment of the MMTLP symbol in light of the false

  and misleading information regarding Meta Materials that was published on the OTC Market’s

  website. Id.

          Although Torchlight Energy and Meta Materials never intended for the MMTLP Shares to

  be publicly traded, less than 24 hours after FINRA notified Meta Materials of the assignment of

  the MMTLP symbol, on October 7, 2021, the Series A Preferred Dividend Shares began trading

  on the OTC Market under the ticker symbol MMTLP without the authorization of Meta Materials,

  and despite Meta Materials’ persistent objections. Complaint ¶ 14; Palikaras Decl. ¶ 16. The

  Series A Preferred Dividend Shares were actively listed, quoted and trading on the OTC Market

  for approximately 14 months, between October 7, 2021 and December 9, 2022. Complaint ¶ 15.

  B.      FINRA’s Improper, Unilateral and Forced-Fed Revision of Meta Materials’
          December 8, 2022 Notice of Corporate Action and the Subsequent U3 Halt
          On November 18, 2022, Next Bridge filed a prospectus2 onto EDGAR notifying the public

  of the summary of the Next Bridge asset spin-off and share exchange. In the prospectus, Next



  2
    See SEC filings, i.e., Meta Materials, Inc., Prospectus (File No. 333-266143) (Nov. 18, 2022) (available at
  https://www.sec.gov/Archives/edgar/data/1936756/000119312522292114/d302576d424b4.htm#toc302576_2), at 1.


                                                       3
Case 0:24-cv-60891-AHS Document 40 Entered on FLSD Docket 08/16/2024 Page 10 of 27




   Bridge noted that every “one share of [MMTLP] outstanding as of close of business, New York

   City time, on December 12, 2022, the record date for the Spin-Off …, will entitle the holder thereof

   to receive one share of Common Stock.” Palikaras Decl. ¶ 23. In connection with the prospectus,

   on November 23, 2022, Meta Materials published a press release 3 indicating that, “on December

   14, 2022 after the close of the trading markets, … all of the shares of Series A Preferred Stock will

   be automatically canceled.” Palikaras Decl. ¶ 24.

           On December 6, 2022, FINRA published a notice of Meta Materials’ corporate action,

   which stated that MMTLP shares would continue trading until December 12, 2022, that the

   MMTLP shares would be canceled on December 13, 2022, and that Next Bridge shares would be

   distributed to MMTLP shareholders with settled positions as of December 12, 2022, on December

   14, 2022. See ECF 1-6, at 2; Palikaras Decl. ¶ 30. Subsequently, on December 8, 2022, a revised

   notice of corporate action was published by FINRA, unilaterally revising the language used by

   Meta Materials in the original corporate action to read, “MMTLP will be deleted effective

   12/13/22”, a revision that was not authorized by Meta Materials. See ECF 1-6, at 1; Palikaras

   Decl. ¶ 32. Notably, this revision deviates from the previous language used and approved by Meta

   Materials Board of Directors in both its December 6, 2022 corporate action, as well as Meta

   Materials’ November 23, 2022 press release.

           In its own motion to dismiss itself from this suit, even though FINRA is just a nominal

   party, FINRA notes that pursuant to FINRA Rule 6490, FINRA “reviews documents submitted by

   an issuer in connection with a company-related action and, if the documents are not deemed

   deficient, FINRA processes the request and provides notice of the company-related action through

   an announcement in the FINRA Daily List publication.” ECF 27 (“FINRA MTD”) at 6. FINRA


   3
     See https://www.accesswire.com/728166/meta-materials-inc-board-of-directors-approves-planned-completion-of-
   the-spin-off-of-next-bridge-hydrocarbons-inc (last accessed July 31, 2024).


                                                        4
Case 0:24-cv-60891-AHS Document 40 Entered on FLSD Docket 08/16/2024 Page 11 of 27




   “make[s] such deficiency determinations solely on the basis of one or more” of the factors outlined

   in FINRA Rule 6490(d)(3), including whether “there is significant uncertainty in the settlement

   and clearance process for the security.” FINRA Rule 6490(d)(3). On or about December 8, 2022,

   FINRA notified the Company that it had unilaterally revised the language of the Company’s

   December 6, 2022 corporate action and required the revised notice to be published on the Daily

   List. Palikaras Decl. ¶ 32. Although FINRA’s Rules, as well as FINRA’s Motion, specifically

   states that it merely reviews documents submitted by an issuer, on December 8, 2022, Meta

   Materials announced that “FINRA has revised” Meta Materials’ notice of corporate action.

   Id. ¶ 33. This revision was made without the input or authorization of the Company. Id. ¶ 31.

            The very next day, on December 9, 2022, FINRA enacted a very rare U3 halt on the trading

   of MMTLP alleging “significant uncertainty in the settlement and clearing process” for the

   security. MTD at 7, ECF 1-11, at 7; Palikaras Decl. ¶ 34.4 Was this a set up? In effect, FINRA’s

   revised version of the corporate action led directly to FINRA instituting the U3 halt the very next

   day. In a public FAQ, FINRA stated that it had based its determination that there existed

   “significant uncertainty in the settlement and clearing process”5 on the circumstances that, after

   December 12, 2022, “the MMTLP shares would cease to be DTC-eligible; the MMTLP shares

   would be canceled by the issuer at the time of the distribution; and Next Bridge common stock

   was not expected to be DTC-eligible.” Id. Despite revising Meta Materials’ corporate action and

   having prior, actual knowledge of the “extraordinary event” which would lead to its determination



   4
     It is Plaintiff’s belief that, despite FINRA’s assertion that the U3 halt was enacted to “protect retail investors,”
   FINRA’s intent behind enacting the halt was, instead, to protect its member brokers from expending billions of dollars
   covering their open short positions within the normal settlement period which, over 600 days later, have not been
   resolved.
   5
     “Significant uncertainty in the settlement and clearing process” is an industry created term of art. FINRA never fully
   explained the specific settlement issues which required the implementation of the U3 halt and, instead, referred to “the
   potential for confusion” for retail investors, see ECF 1-11 at 7, while ignoring its member brokers’ obligation to cover
   their outstanding short positions which, at the time of the halt, was no less than 2.65 million shares. Id. at 6.


                                                              5
Case 0:24-cv-60891-AHS Document 40 Entered on FLSD Docket 08/16/2024 Page 12 of 27




   to halt trading of MMTLP, FINRA failed to notify the public or Meta Materials that it would be

   enacting a halt, leading, in part, to the dispute between Plaintiff and TradeStation and an open

   short interest of no less than 2.65 million shares at the time MMTLP ceased trading which, to date,

   has not been covered.6

   C.       FINRA Was Aware of Fraudulent Market Activity Occurring Amongst Its Member
            Brokers, Yet FINRA Failed to Initiate Any Disciplinary Action Against Member
            Brokers or Provide Adequate Responses to Congressional Inquiry
            Despite having knowledge of fraudulent activity occurring among its member brokers and

   communicating confirmation of this knowledge with the SEC as early as December 5, 2022,

   FINRA failed to discipline its member brokers for illegal or unethical market activity relating to

   MMTLP.         As a self-regulatory organization authorized by Congress, FINRA’s primary

   responsibility in the regulation of the financial market is the oversight and discipline of its member

   broker-dealers. Electronic Blue Sheets are one of the investigative tools used by FINRA to monitor

   and detect illegal, fraudulent or unethical behavior of its member firms.

            On or about December 16, 2022, a Freedom of Information Act request was submitted to

   the SEC by a member of the investing public which revealed that on December 5, 2022, FINRA

   noted in an email to the SEC it was made aware of fraud being committed pertaining to MMTLP

   as it was “Bluesheeting” its member broker-dealers relating to MMTLP prior to the enactment of

   the U3 halt. See Complaint ¶ 77, ECF 1-6 at 4. On December 23, 2023, after tens of thousands of

   registered complaints by MMTLP shareholders, including plaintiff, to the SEC, 74 members of the

   House of Representatives signed a letter to the Chairman of the SEC, Gary Gensler, and the

   President and Chief Executive Officer of FINRA, Robert Cook, requesting that the SEC and



   6
     FINRA has failed to initiate any disciplinary action against its member brokers, including TradeStation, for the
   admitted failures of its member brokers to cover no less than 2.65 million shares shorted, as well as for failures to
   maintain physical possession of its customer’s securities, such as TradeStation’s failure to maintain Plaintiff’s Next
   Bridge shares.


                                                             6
Case 0:24-cv-60891-AHS Document 40 Entered on FLSD Docket 08/16/2024 Page 13 of 27




   FINRA “review events surrounding Meta Materials Series A preferred shares,” including

   “concerns regarding the circumstances surrounding the U3 halt and level of short selling in

   MMTLP” and “the existence of fraud and manipulation related to MMTLP transactions, such as

   illegal forms of naked shorts and counterfeit shares.” See Complaint at 19, n.16. On January 31,

   2024, FINRA responded to the Congressional letter stating it had “reviewed its members’ U.S.

   trading activity in MMTLP, including short sale activity, and has found no evidence that there was

   significant naked short selling … in MMTLP.” Id., n.17. FINRA’s open-ended response to

   Congress cannot be read to say it did not find any naked short selling by its member brokers.

   Rather, FINRA’s statement clearly shows they did find their members to be naked short selling

   MMTLP shares, yet FINRA failed to effectively discipline its member brokers based on its own

   findings.7

   D.      The Intimate Connection Between TradeStation and FINRA (Conflict of Interest)
           On or about December 9, 2022, at the time of the MMTLP U3 halt, TradeStation’s Chief

   Compliance Officer Nikki Brinkerhoff was, and to date is, an industry representative sitting on

   FINRA’s South Regional Committee for District 7.8 FINRA’s Regional Committees “advise

   FINRA on industry trends of regulatory concern, provide input on the impact of FINRA’s

   regulatory programs and communicate high-level information regarding meeting discussions to

   their constituents,” as well as serving as panelists in FINRA’s disciplinary proceedings. As a

   Regional Committee representative, Brinkerhoff’s responsibilities include advising FINRA on

   regulatory trends and impacts, communicating key information and serving as a disciplinary

   panelist. Following the halt, Ms. Brinkerhoff led a discussion on the Next Bridge S-1 filing for


   7
     This Court should direct an in camera review of FINRA’s Blue Sheet and Consolidated Audit Trail Data, as well as
   issuing an order directing FINRA to provide the Court with a comprehensive and accurate share count of the MMTLP
   security, to determine whether FINRA failed to initiate disciplinary proceedings against its member brokers for
   violations of state and federal securities laws and regulations.
   8
     See https://www.finra.org/about/governance/regional-committees (last accessed July 31, 2024).


                                                           7
Case 0:24-cv-60891-AHS Document 40 Entered on FLSD Docket 08/16/2024 Page 14 of 27




   the Financial Information Forum (FIF), a body including broker-dealers, market makers, and

   SROs, which discussed MMTLP. On February 23, 2024, Ms. Brinkerhoff spoke at an event hosted

   by FINRA on topics including arbitration, enforcement, and compliance.                          This speaking

   engagement lends to the complication of FINRA’s neutrality, given Ms. Brinkerhoff’s influence

   on arbitration and enforcement actions as a representative of TradeStation. 9 During the week of

   January 22, 2024, FIF members received document requests from both SEC and FINRA

   examination groups relating to the Next Bridge Hydrocarbons and Meta Materials reorganization.

   FIF solicited responses from member brokers to gauge the number of firms receiving such

   inquiries, promising to maintain anonymity.

           Despite TradeStation’s admission to over-lending MMTLP shares, Ms. Brinkerhoff was

   promoted to FINRA’s Uniform Practice Code (“UPC”) Advisory Committee. The UPC Advisory

   Committee is responsible for advising and making recommendations to FINRA regarding issues

   relating to the Uniform Practice Code and Over-The-Counter market trading, processing and

   operations. As FINRA states on its website, the UPC Advisory Committee “considers issues

   related to the clearance and settlement of OTC securities transactions,” such as the implementation

   of the U3 halt of MMTLP due to “significant uncertainty in the settlement and clearance process.”

   Ms. Brinkerhoff’s dual roles on FINRA’s Regional and UPC Advisory Committees present clear

   conflicts of interest, as her role would have allowed her to advise FINRA during the U3 halt and

   now influence the UPC Advisory Committee’s decisions. Her promotion, despite TradeStation’s

   over-lending of MMTLP shares, questions her impartiality in regulatory decisions, as well as

   FINRA’s impartiality as an alternative dispute resolution service to the dispute between Plaintiff



   9
    Ms. Brinkerhoff’s panel discussion of Next Bridge is certainly not a coincidence. The Next Bridge securities were
   born from the MMTLP security and, optically, the concern FINRA had for its member brokers’ sentiment toward
   Next Bridge seems far greater than its concern for the potential harm that would be suffered by retail investors.


                                                           8
Case 0:24-cv-60891-AHS Document 40 Entered on FLSD Docket 08/16/2024 Page 15 of 27




   and TradeStation.10 The coordination among FIF members and discreet regulatory handling

   suggests potential collusion undermining fair processes, and Ms. Brinkerhoff’s involvement in

   regulatory decisions and forums raises concerns about impartiality, necessitating this action be

   heard in front of this Court as Plaintiff seeks a non-partial judicial resolution to its dispute against

   TradeStation and the Doe Defendants.

   E.       FINRA Will Assert Immunity to any Discovery Requests in An Arbitration
            Proceeding
            To complicate matters, FINRA has already asserted its immunity in several lawsuits

   seeking to hold FINRA liable for the issues surrounding MMTLP,11 as well as in a Special

   Proceeding initiated in a New York State Court seeking FINRA’s Electronic Blue Sheets 12

   containing information regarding its member brokers activity around the time of the halt 13. FINRA

   “bluesheeted” its member brokers because FINRA suspected fraud surrounding the trading of

   MMTLP from its member brokers, likely illegal naked short selling. See ECF 1-6 at 3. Despite

   the fact that FINRA has failed to provide Congress with the same requested information, FINRA

   will undoubtedly assert the same immunity in its own arbitration proceeding should this court grant



   10
      Despite FINRA’s November 6, 2023 Supplemental MMTLP FAQ stating that at the time of the U3 halt there were
   outstanding short positions of no less than 2.65 million shares which, to date (more than 600 days from the event),
   have yet to be covered, FINRA has failed to prosecute any disciplinary administrative action against its member
   brokers, including TradeStation. This certainly raises the question of FINRA’s impartiality considering Nikki
   Brinkerhoff (TradeStation’s Compliance Officer) and her position in FINRA to run “interference” to thwart any
   disciplinary action against defendant TradeStation. Optically this is certainly a question that needs this court's
   consideration in determining this motion.
   11
      Tawil v. Fin. Indus. Regul. Auth., Inc., Case No. 4:22-cv-440, 2023 U.S. Dist. LEXIS 117247 (N.D. Fla. May 24,
   2023) (dismissed due to FINRA’s immunity to a private civil lawsuit); Hoffman v. Fidelity Brokerage Servs. LLC,
   Case No. 2:23-cv-00881, 2023 U.S. Dist. LEXIS 81166 (C.D. Cal. May 8, 2023) (same); Park v. E-Trade Fin. Corp.
   Servs., Inc., Case No. 2:23-cv-0069 (N.D. Ga. Sept. 25, 2023) (same); Hensley v. TD Ameritrade, Inc., Case No. 2-
   23-cv-5159 (W.D. Wa. Oct. 2, 2023) (same)
   12
      See David Khorassani v. The Fin. Indus. Regul. Auth., Index No. 153819/2023 (Sup. Ct. N.Y. Cty).
   13
      Conspicuously absent from the record is any lawsuit by TradeStation against FINRA (member broker firms are the
   only ones that can sue FINRA) for FINRA instituting the U3 halt thereby directly affecting TradeStation’s ability to
   deliver plaintiff’s stock. Conversely, no disciplinary action has been brought by FINRA against TradeStation for
   violating 17 C.F.R. § 240.15c3-3. This raises the serious issue of collusion between FINRA and TradeStation against
   Plaintiff (as well as 65,000 other retail investors) that have been deprived of any regulatory relief for more than 600
   days since the event on December 9, 2022.


                                                             9
Case 0:24-cv-60891-AHS Document 40 Entered on FLSD Docket 08/16/2024 Page 16 of 27




   TradeStation’s motion and send this matter to arbitration. This fact alone is a conflict of interest

   because FINRA is directly implicated in the chain of events leading to TradeStation’s inability to

   deliver Plaintiff its securities. It is highly likely that any FINRA arbitrator will disallow any

   discovery from FINRA, and Plaintiff would be severely prejudiced, raising serious due process

   concerns.

                                             ARGUMENT

   I.     THE COURT SHOULD FIND THAT FINRA CANNOT ACT AS AN IMPARTIAL
          ALTERNATIVE DISPUTE RESOLUTION SERVICE PURSUANT TO THE
          ARBITRATION PROVISION
          “A fair trial in a fair tribunal is a basic requirement of due process.” In re Murchison, 349

   U.S. 133, 136 (1955). The fairness demanded by due process “requires an absence of actual bias

   in the trial of cases.” Id. “Not only is a biased decision maker constitutionally unacceptable but

   ‘our system of law has always endeavored to prevent even the possibility of unfairness.” Withrow

   v. Larkin, 421 U.S. 35, 47 (1975) (quoting Murchison, 349 U.S. at 136; cf. Tumey v. Ohio, 273

   U.S. 510, 532 (1927)). In this case, legal constraints external to the parties’ agreement foreclose

   the arbitration of these claims. See Mitsubishi Motors Corp. v. Soler Chrysler-Plymouth, 473 U.S.

   614 (1985) (approving of appellate court’s two-step inquiry, “first determining whether the parties’

   agreement to arbitrate reached the statutory issues, and then, upon finding it did, considering

   whether legal constraints external to the parties’ agreement foreclosed the arbitration of those

   claims.”).

          Claims under statutes which are designed to advance important public policies may be

   subject to arbitration, unless the party resisting arbitration can show that Congress has evinced an

   intention to preclude a waiver of judicial remedies for the statutory rights at issue. Gilmer v.

   Interstate/Johnson Lane Corp., 500 U.S. 20, 26 (1991); Shearson/Am. Express v. McMahon, 482

   U.S. 220, 227 (1987) (citing Mitsubishi, 473 U.S. at 628). Such Congressional intent “will be


                                                   10
Case 0:24-cv-60891-AHS Document 40 Entered on FLSD Docket 08/16/2024 Page 17 of 27




   deducible from the text of legislative history” of the statute, Mitsubishi, 473 U.S. at 628, “or from

   an inherent conflict between arbitration and the statute’s underlying purposes.” McMahon, 482

   U.S. at 227 (citing Mitsubishi, 473 U.S. at 632-37; Dean Witter Reynolds Inc. v. Byrd, 470 U.S.

   213, 217 (1985)). “[S]o long as the prospective litigant effectively may vindicate its statutory

   cause of action in the arbitral forum, the statute will continue to serve both its remedial and

   deterrent function.” Mitsubishi, 473 U.S. at 637; Gilmer, 500 U.S. at 28.

          A party resisting arbitration “may attack directly the validity of the agreement to arbitrate.”

   Mitsubishi, 473 U.S. at 632 (citing Prima Paint Corp. v. Flood & Conklin Mfg., 388 U.S. 395

   (1967)). “Moreover, the party may attempt to make a showing that [] ‘enforcement would be

   unreasonable and unjust’; or that proceedings ‘in the contractual forum will be so gravely difficult

   and inconvenient that [the resisting party] will for all practical purposes be deprived of his day in

   court.” Id. (quoting The Bremen v. Zapata Off-Share Co., 407 U.S. 1, at 12, 15, 18 (1972),

   superseded by statute, 28 U.S.C. § 1404(a)); see also id. at 630 (“’[an] agreement to arbitrate

   before a specified tribunal [is], in effect, a specialized kind of forum-selection clause…’” (quoting

   Scherk v. Alberto-Culver Co., 417 U.S. 506, 519 (1974))).

      A. FINRA’s Regulatory Action of Implementing the December 9, 2022 U3 Halt was the
         Primary Catalyst for Plaintiff’s Claims Against TradeStation
          The primary catalyst for Plaintiff’s claims against TradeStation set forth in the Complaint

   was the December 9, 2022 U3 halt enacted by FINRA that prevented TradeStation from fulfilling

   its obligations pursuant to the Agreements, as well as from complying with Florida State and

   federal securities laws and regulations, to the detriment of Plaintiff.

              a. Plaintiff’s Claims for Rescission Pursuant to Section 29(b) of the Exchange Act for
                 a Violation of 17 C.F.R. § 240.15c3-3(b)(1), Violation of Fla. Stat § 678.5041 and
                 Negligence Per Se for Violations of State and Federal Securities Laws




                                                     11
Case 0:24-cv-60891-AHS Document 40 Entered on FLSD Docket 08/16/2024 Page 18 of 27




          Pursuant to the Lending Agreement, TradeStation loaned its customers’, including

   Plaintiff’s, fully-paid MMTLP Shares to unidentified third-party brokers (the “Doe Defendants”)

   to facilitate the Doe Defendants opening of short positions in MMTLP, in exchange for regular,

   monthly interest payments remitted to Plaintiff.         Complaint ¶ 30; ECF 1-4.        After the

   implementation of the halt and subsequent delisting of the MMTLP Shares, on or about December

   29, 2023, TradeStation notified its customers that “[u]pon the initial distribution of [Next Bridge]

   common stock, broker-dealers, like TradeStation, were granted physical certificates based on their

   customers’ former holdings of Meta Materials” and “[t]he [Next Bridge] certificate that

   TradeStation received excluded a large number of [Next Bridge] shares that had been lent to other

   broker-dealers as part of TradeStation’s Fully Paid Lending program.” Complaint ¶¶ 48-49. The

   issuance of a physical certificate which excluded a large portion of the shares loaned to the Doe

   Defendants is indicative of TradeStation’s loans of MMTLP Shares in excess of the amount held

   on record for the benefit of its customers. Complaint ¶ 52; ECF 1-7.

          The Doe Defendants borrowed MMTLP Shares from TradeStation to sell the shares into

   the open market to purchase short positions in the security. On December 9, 2023, FINRA

   implemented the U3 halt on the MMTLP ticker, creating the impossibility for TradeStation to

   reclaim the MMTLP Shares loaned to the Doe Defendants pursuant to the Lending Agreement.

   Once the trading of MMTLP was halted, the Doe Defendants were unable to sell or otherwise

   dispose of their outstanding short positions (which were for no less than 2.65 million shares, see

   ECF 1-11 at 6), and the MMTLP Shares that were borrowed never returned to TradeStation.

   Complaint ¶ 129. As such, TradeStation was left with a share imbalance, requiring it to utilize the

   physical shares received from Next Bridge to cover the excess MMTLP Shares loaned rather than




                                                   12
Case 0:24-cv-60891-AHS Document 40 Entered on FLSD Docket 08/16/2024 Page 19 of 27




   holding physical certificates for the benefit of its customers pursuant to 17 C.F.R. § 240.15c3-

   3(b)(1).

              b. Violation of Fla. Stat. § 678.5071 for Failure to Comply with Plaintiff’s Entitlement
                 Order, Breach of Contract, Negligent Misrepresentation, Conversion, Breach of
                 Fiduciary Duty, Unjust Enrichment and Constructive Trust
          On March 19, 2024, Plaintiff’s principal contacted TradeStation’s Client Services

   Department to provide TradeStation notice of Plaintiff’s intent to terminate the loan of its Next

   Bridge shares pursuant to Section 7.1 of the Lending Agreement and to terminate the Lending

   Agreement in full pursuant to Section 25.1. Complaint ¶ 55. On December 13, 2022, TradeStation

   sent its clients who held shares of MMTLP, including Plaintiff’s principal, an email notification

   stating “[u]nless we hear from you to the contrary by the close of business on December 29, 2022,

   TradeStation will send your Next Bridge shares to American Stock Transfer & Trust Company

   (“AST”).” Complaint ¶ 41; ECF 1-7. On March 22, 2024, the Lending Agreement was terminated

   and, upon such termination, Plaintiff requested TradeStation return its fully-paid Next Bridge

   shares by delivering physical certificated Next Bridge shares pursuant to Section 16.1 of the

   Lending Agreement. Complaint ¶¶ 55-56. TradeStation subsequently notified Plaintiff that it

   could and would not deliver physical certificates—an Event of Default pursuant to Section 13.7 of

   the Lending Agreement and a material breach pursuant to Section 16.1. Complaint ¶¶ 57-59, 155.

      B. Despite a Strong Public Policy Favoring the Enforcement of Arbitration Agreements,
         an Arbitration Agreement Involving an “Evidently Partial” Arbitration Service
         Should Not Be Enforced
          Generally, arbitration agreements are construed in favor of arbitration. See Bolamos v.

   Globe Airport Sec. Servs., 2002 U.S. Dist. LEXIS 11056, at *1 (S.D. Fla. May 21, 2002) (“In

   enacting the FAA, Congress established a strong federal policy in favor of arbitration

   agreements”). However, Section 10 of the Federal Arbitration Act authorizes the “vacation of an

   award where there was evident partiality [] in the arbitrators.’” See 9 U.S.C. § 10; Commonwealth


                                                   13
Case 0:24-cv-60891-AHS Document 40 Entered on FLSD Docket 08/16/2024 Page 20 of 27




   Coatings Corp. v. Cont’l Cas. Co., 393 U.S. 145, 147 (1968) (“These provisions show a desire of

   Congress to provide not merely for any arbitration, but for an impartial one”).

          Plaintiff does not disagree that an agreement to arbitrate before FINRA was entered into

   between the parties. Further, Plaintiff does not disagree that public policy generally favors the

   enforcement of arbitration agreements, as held by the U.S. Supreme Court, should the arbitration

   proceedings be held with complete impartiality. However, it is indisputable that FINRA, as an

   alternative dispute resolution service, as well as individual arbitrators independently contracted

   and paid by FINRA, would be biased in favor of TradeStation as it relates to Plaintiff’s claims that

   arise from FINRA’s regulatory activities.

      C. FINRA Would Not Be Conflicted From Administering Arbitration Services For
         “Virtually Every” Other Dispute Arising Out Of Its Member Brokers’ Business
         Activities
          In its Motion, TradeStation notes that “thousands of arbitrations [are] administered by

   FINRA Dispute Resolution Services every year involv[ing] securities disputes among and between

   brokerage customers, like Plaintiff, and FINRA members, like TradeStation.” Motion at 9.

   TradeStation further argues that under Plaintiff’s “bizarre” bias theory, “FINRA conceivably could

   be conflicted from administering virtually every arbitration dispute brought before it.” Id. It is

   inconceivable and nigh impossible that every dispute arbitrated by FINRA directly arises from the

   result of FINRA’s own regulatory activities. This is an absurd reading of the Complaint and

   Plaintiff’s position. It is the fact, unique to this case, that FINRA had taken a series of several

   questionable regulatory activities directly concerning the MMTLP security which FINRA has

   failed to properly account for—the numerous volumes of evidence of FINRA’s failure to respond

   to inquiries, in lawsuits, in special proceedings, in FOIA requests and above all, Congressional

   inquiry—leaves no doubt that the unique element to this case is FINRA’s direct involvement,

   through its regulatory actions, that have caused this mess.


                                                   14
Case 0:24-cv-60891-AHS Document 40 Entered on FLSD Docket 08/16/2024 Page 21 of 27




        D. Each Individual Arbitrator Contracted by FINRA Holds An Innate, Implied Bias
           Favoring FINRA
            An arbitrator is a neutral, third-party fact-finder that hears and resolves a dispute in a role

   similar to a judge or juror. 14 “It is true that arbitrators cannot sever all their ties with the business

   world, since they are not expected to get all their income from their work deciding cases, but we

   should, if anything, be even more scrupulous to safeguard the impartiality of arbitrators than

   judges, since the former have completely free rein to decide the law as well as the facts and are

   not subject to appellate review.” Cont’l Cas., 393 U.S. at 149-150. Generally, fact-finders, such

   as arbitrators and jurors, are excluded upon a showing of an implicit or actual bias. See United

   States v. Rhodes, 177 F.3d 963, 965 (11th Cir. 1999) (noting a court must dismiss a prospective

   juror for cause when he or she reveals actual bias or when bias is implied because the juror has a

   special relationship to a party); FINRA Rule 12405; Citigroup Glob. Mkts., Inc. v. Berghorst, 2012

   U.S. Dist. LEXIS 76459, at *9 (S.D. Fla. Jan. 20, 2012) (noting that pursuant to FINRA Rule

   12405, FINRA arbitrators are required to disclose “any circumstances which might preclude the

   arbitrator from rendering an objective and impartial determination in the proceeding”). This

   standard must be applied in the same manner to the arbitration service, as it does to the individual

   arbitrator. “Actual bias may be shown in two ways: ‘by express admission or by proof of specific

   facts showing such a close connection to the circumstances at hand that bias must be presumed.’”

   Torres v. First Transit, Inc., 2021 U.S. Dist. LEXIS 144608, at *55 (S.D. Fla. Aug. 3, 2021)

   (quoting United States v. Perkins, 748 F.2d 1519, 1532 [11th Cir. 1984]). Bias may be implied if

   a juror (fact-finder) “has a special relationship with a party, such as a familial or master-servant

   relationship.” Rhodes, 117 F.3d at 965 (noting a prospective juror must be dismissed when actual


   14
     See Arbitrator, Black’s Law Dictionary (2nd ed.), available at https://thelawdictionary.org/arbitrator/ (last accessed
   August 5, 2024) (“A private, disinterested person, chosen by the parties to a disputed question, for the purpose of
   hearing their contention, and giving judgment between them…”).


                                                             15
Case 0:24-cv-60891-AHS Document 40 Entered on FLSD Docket 08/16/2024 Page 22 of 27




   bias is revealed or when bias is implied); see also FINRA Rule 12405(a)(1) (“Each potential

   arbitrator must make a reasonable effort to learn of, and must disclose to the Director, any

   circumstances which might preclude the arbitrator from rendering an objective and impartial

   determination in the proceeding, including any direct or indirect financial or personal interest in

   the outcome of the arbitration).

           FINRA would not be a party to an arbitration proceeding arising from the dispute between

   Plaintiff and TradeStation. However, FINRA’s Dispute Resolution Service is the forum in which

   this dispute would be brought before and permitting TradeStation to use its platform to arbitrate

   this dispute raises severe due process concerns. FINRA’s arbitrators are independent contractors

   for FINRA that are chosen via “a list selection algorithm that generates, on a random basis, lists

   of arbitrators from FINRA’s rosters of arbitrators for the selected hearing location for each

   proceeding.” See FINRA Rule 12400. As independent contractors, FINRA’s “neutral” arbitrators

   receive compensation at a rate of $300 per hearing session. 15 Similar to a juror, arbitrators are

   intended to be neutral fact-finders. Generally, jurors are excluded when there is a showing of

   express or implicit bias. In the eyes of Plaintiff, it is unjust to permit a panel of arbitrators with a

   financial connection to FINRA to make decisions in a dispute which arose out of the regulatory

   activities of the same entity that the arbitrators are financially contracted with. Psychologically,

   each and every arbitrator that receives work from, and is financially compensated by FINRA will

   hold an implicit bias in favor of FINRA, especially when FINRA’s regulatory activities are one of

   the main causes of the dispute. As such, this Court should find that arbitrators that are financially

   compensated by FINRA would hold an implied bias in favor of a FINRA member broker in a




   15
     See https://www.finra.org/arbitration-mediation/rules-case-resources/honoraria-expenses (last accessed August 1,
   2024).


                                                          16
Case 0:24-cv-60891-AHS Document 40 Entered on FLSD Docket 08/16/2024 Page 23 of 27




   dispute that stems from the regulatory actions taken by FINRA, the entity that provides financial

   compensation for resolving such disputes.

      E. The Limited Discovery Permitted by FINRA’s Code of Arbitration Will Heavily
         Prejudice Plaintiff in this Matter
          FINRA’s Code of Arbitration severely limits Plaintiff’s ability to gather the evidence

   needed to prosecute its claims against TradeStation. This evidence includes, but certainly not

   limited to TradeStation’s lending activities across all of its accounts in the MMTLP security; all

   discovery into up to 105 other brokers involved in TradeStation’s lending of the MMTLP

   securities; other similar complaints filed against TradeStation as well as the other 105 brokers;

   communications between FINRA and TradeStation; communications between TradeStation and

   the borrowing brokers, etc. In FINRA arbitration, discovery is limited and the discretion to

   authorize interrogatories and depositions are exclusively in the hands of the arbitrator, and are

   rarely authorized. See FINRA Rule 12507 (“Standard interrogatories are generally not permitted

   in arbitration”); FINRA Rule 12510 (“Depositions are strongly discouraged in arbitration. Upon

   motion of a party, the panel may permit depositions, but only under very limited

   circumstances…”). The arbitrator also has complete control over a party’s subpoena power as it

   is the arbitrator that issues the subpoena, not counsel to the parties. See FINRA Rule 12512(a)(1)

   (“[P]arties should produce documents and make witnesses available to each other without the use

   of subpoenas. Arbitrators shall have the authority to issue subpoenas for the production of

   documents or the appearance of witnesses”). Should this Court deny TradeStation’s request to

   compel arbitration, Plaintiff would avail itself of all discovery tools under the Federal Rules of

   Civil Procedure including Rule 30, Rule 33 and Rule 36, as well as Plaintiff’s counsel having the

   authority to subpoena information from third party witnesses.




                                                  17
Case 0:24-cv-60891-AHS Document 40 Entered on FLSD Docket 08/16/2024 Page 24 of 27




  II.      PLAINTIFF’S CLAIMS ARISE FROM TRADESTATION’S MISCONDUCT
           WHICH WAS NOT CONTEMPLATED BY THE PARTIES AT THE TIME THE
           CONTRACT WAS EXECUTED. THUS, PLAINTIFF’S CLAIMS ARE NOT
           ARBITRABLE UNDER THE TERMS OF THE ARBITRATION AGREEMENTS
           “[I]n order for the dispute to be characterized as arising out of or related to the subject

   matter of the contract, and thus subject to arbitration, it must, at the very least, raise some issue the

   resolution of which requires a reference to or construction of some portion of the contract itself.”

   Seifert v. United States Home Corp., 750 So. 2d 633, 639 (Fla. 1999) (citing Old Dutch Farms,

   Inc. v. Milk Drivers & Dairy Emps. Local Union No. 584, 359 F.2d 598 (2d Cir. 1966)). The

   relationship between the dispute and the contract is not satisfied simply because the dispute would

   not have arisen absent the existence of a contract between the parties. Armada Coal Exp., Inc. v.

   Interbulk, Ltd., 726 F.2d 1566 (11th Cir. 1984). The Eleventh Circuit has held that a claim “arises

   under” an arbitration agreement when the claims were a “foreseeable result” of the performance

   of the agreement. See Hemispherx Biopharma v. Johannesburg Consol. Invs., 553 F.3d 1351,

   1367 (11th Cir. 2008).

           The Account Agreement arbitration provision states it is limited to “controversies, claims

   or disputes relating to [Plaintiff’s] Account, the Services, and/or the determination of any

   contractual or other rights and liabilities under this Agreement.” ECF 1-9 at 15. The Account

   Agreement defines “Account” as “the securities brokerage account or accounts you are opening or

   have opened or later open with us regarding your interests and transaction in equities, such as

   stocks….” Id. at 1. Similarly, the Lending Agreement arbitration provision states it is limited to

   “any dispute, controversy or claim arising out of this agreement or any loan hereunder.” ECF 1-2

   at 16. It is inconceivable that a rational individual could believe, or reasonably foresee, that

   Plaintiff’s claims against TradeStation could arise out of the Agreements as a result of FINRA’s

   regulatory activities. Further, it was an impossibility that Plaintiff could have foreseen its claims



                                                      18
Case 0:24-cv-60891-AHS Document 40 Entered on FLSD Docket 08/16/2024 Page 25 of 27




   arising out of TradeStation’s illegal activity that was unknown to Plaintiff at the time the

   Agreements were executed.

          Plaintiff does not dispute that the factual foundation for Plaintiff’s action against

   TradeStation stems from its interest in its MMTLP shares it fully-purchased through its

   TradeStation Account. However, the parties did not contemplate that TradeStation’s use of

   counterfeit MMTLP shares to the Doe Defendants, pursuant to the Lending Program, would lead

   to Plaintiff suffering financial damages. Assuming TradeStation would operate pursuant to federal

   and Florida State securities laws, Plaintiff did not, and should not have been expected to foresee

   the possibility that TradeStation (admittedly) loaned MMTLP Shares to third-party brokers in an

   amount in excess of the amount held on record for the benefit of its customers, i.e. counterfeit

   MMTLP Shares. This unlawful activity, along with FINRA’s regulatory actions taken with respect

   to MMTLP, are the core facts from which Plaintiff’s claims against TradeStation arise.

          Additionally, Plaintiff’s claims, including those for violations of Fla. Stat § 895.03 and Fla.

   Stat. § 772.103, are outside the scope of the contract and, thus, were not foreseeable to Plaintiff as

   these claims are directly traceable to TradeStation’s lending of counterfeit MMTLP shares to third-

   party brokers in excess of the number of shares held on record for the benefit of its customers.

   This was an unlawful activity carried out by TradeStation for an unknown period of time prior to

   Plaintiff executing the Agreements with TradeStation and unknown to Plaintiff at the time the

   Agreements were executed.

          Plaintiff’s claims were not a foreseeable result of either parties’ performance under the

   Agreements. The Agreements did not contemplate TradeStation’s use of counterfeit MMTLP

   shares to operate its Lending Program. Because TradeStation (or the Doe defendants utilized or

   created counterfeit MMTLP shares in some way through its lending program), TradeStation’s




                                                    19
Case 0:24-cv-60891-AHS Document 40 Entered on FLSD Docket 08/16/2024 Page 26 of 27




   claim that it was not provided with a physical share certificate from Next Bridge which covered

   all fully-paid shares loaned to third-party brokers that were held on record for the benefit of its

   customers, as well as the excess amount of shares loaned, causing TradeStation to be unable to

   fulfill Plaintiff’s entitlement order, breaching the Lending Agreement should fall on this courts

   deaf ears. As such, the Court should find that Plaintiff’s claims against TradeStation did not arise

   from the Agreements and, thus, were not foreseeable to Plaintiff at the time of contracting with

   TradeStation.

                                            CONCLUSION

          Simply stated, if FINRA had not permitted the listing exemption for the MMTLP Shares

   utilizing incorrect and outdated information, the MMTLP Shares would never have started trading

   and FINRA would never have been required to implement an exceedingly rare U3 halt on the

   MMTLP Shares without warning, catching Meta Materials, MMTLP shareholders and its member

   brokers by surprise. Because FINRA took the regulatory actions it did, it became impossible for

   TradeStation to fulfill its obligations under the Agreements and comply with state and federal

   securities laws, leading directly to the dispute between Plaintiff and TradeStation

          For the reasons set forth herein, Plaintiff respectfully requests that the Court deny

   TradeStation’s motion to compel arbitration and stay this action, and grant Plaintiff’s cross-motion

   to disqualify FINRA from acting as the dispute resolution service mandated by the Agreements

   between Plaintiff and TradeStation. Plaintiff invites FINRA to explain itself before this Court how

   its extra-regulatory conduct was not wrong with the facts and data that indicates its bias in this

   matter. Plaintiff expects that this Court is the ideal forum for FINRA to provide information and a

   detailed explanation to properly account for its regulatory and other activities and to answer both

   shareholder and Congressional inquiries outstanding for more than 600 days.




                                                   20
Case 0:24-cv-60891-AHS Document 40 Entered on FLSD Docket 08/16/2024 Page 27 of 27




                                  Local Rule 7.1(a)(3) Certification

          I hereby certify that undersigned counsel attempted to confer with counsel for TradeStation

   regarding the relief Plaintiff seeks in its cross-motion. However, counsel for TradeStation did not

   respond to Plaintiff’s inquiry. Based on TradeStation’s motion to compel arbitration, Plaintiff

   believes TradeStation would oppose the relief Plaintiff seeks herein.

                                                Respectfully Submitted,

                                                THE BASILE LAW FIRM P.C.

                                                /s/ Agapija Cruz
                                                Agapija Cruz, Esq.
                                                365 Fifth Avenue S.
                                                Suite 202
                                                Naples, Florida 33472
                                                Tel.: (239) 232-8400
                                                Fax: (631) 498-0478
                                                Email: agapija@thebasilelawfirm.com

                                                Joseph F. Rose, Esq. (admitted Pro Hac Vice)
                                                390 N. Broadway, Ste. 140
                                                Jericho, New York 11753
                                                Tel.: (516) 455-1500
                                                Fax: (631) 498-0478
                                                Email: joe@thebasilelawfirm.com

                                                Counsel for Plaintiff Inter-Coastal Waterways LLC



                                    CERTIFICATE OF SERVICE

          I hereby certify that the foregoing was electronically filed on August 16, 2024, with the

   Clerk of the Court using the CM/ECF system which will send notification of such filing to all

   counsel of record.

                                                               Respectfully Submitted,

                                                               /s/ Agapija Cruz
                                                                   Agapija Cruz, Esq.


                                                   21
